      Case 1:16-cr-00060-MAC-ZJH Document 188 Filed 08/14/20 Page 1 of 1 PageID #: 663
AO 249 (Rev. 01/09) Drug Offender’s Reinstatement of Federal Benefits


                                       UNITED STATES DISTRICT COURT
                                                                        for the
                                                          Eastern District
                                                      __________  District of
                                                                           of __________
                                                                              Texas

                 United States of America                                 )
                                v.                                        )        Case No.      1:16cr60- 2
                 ANNA MARIE GRISANTI                                      )
                                                                          )        Sentencing Date: 08/14/2020
                            Defendant                                     )


                             DRUG OFFENDER’S REINSTATEMENT OF FEDERAL BENEFITS

         The defendant has successfully completed a supervised drug rehabilitation program, or has in good faith tried to
gain admission to such a program but was unable to do so because of its cost or inaccessibility, or has otherwise been
rehabilitated.

        IT IS ORDERED: Under 21 U.S.C. §862(c), the defendant’s federal benefits suspended by the court on a
conviction for the distribution or possession of a controlled substance are reinstated.



Date:        08/14/2020
                                                                                                   Judge’s signature

                                                                                       Marcia A. Crone, US District Judge
                                                                                                Printed name and title




City and state of defendant’s residence: Buffalo, New York

Last four digits of SSN:             1889

Year of birth:           1986




The clerk of court is responsible for sending a copy of this form to:

                                                U.S. Department of Justice - Office of Justice Programs
                                                       Attn: Denial of Federal Benefits Program
                                                               810 Seventh Street, NW
                                                               Washington, D.C. 20531




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